Case 2:10-md-02179-CJB-DPC Document 1951-1 Filed 04/13/11 Page 1 of 6

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL * MDL NO. 2179
RIG “DEEPWATER

HORIZON” in the GULF OF * SECTION : J
MEXICO, on

APRIL 20, 2010 * JUDGE BARBIER
THIS DOCUMENT RELATES *

TO ALL CASES AND CONSOLIDATED

ACTIONS IN MDL NO. 2179 AND *

COMPLAINT AND PETITION OF

TRITON ASSET LEASING *

GMBH, ET AL, NO. 10-2771
HRRRRKERRR KK AARRRRRRARARRRR R  k
CASE MANAGEMENT ORDER NO.

(TRIAL PLAN FOR FEBRUARY 27, 2012 TRIAL ON LIMITATION, LIABILITY
AND FAULT ALLOCATION)

Considering the need for organization of this complex litigation, the Court adopts
the following Case Management Order No. _ and Trial Plan, which supplements Case
Management Order No, 1/Pre-Trial Order No. 11 (“CMO No. 1”)(Ree. Doe. No. 569),
and sets forth the following Trial Plan for the February 2012 trial of liability, limitation,
exoneration and fault allocation:

1. Pursuant to Rule 9(h), the trial will address claims involving personal

injury/wrongful death and non-personal injury/wrongful death (like

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Case 2:10-md-02179-CJB-DPC Document 1951-1 Filed 04/13/11 Page 2 of 6

Robins Dry Dock and Admiralty Extension Act claims) for economic
losses as a result of the spill.’

2, The Parties at trial shall include persons and entities who have filed
claims in the Transocean Limitation, BP Exploration & Production, Inc.,
BP America Production Company, BP p.lc. (collectively the “BP
entities”); Halliburton Energy Services, Inc. (“Halliburton”); M-I, LLC
(“M-I”); Cameron International Corp. f/k/a Cooper Cameron Corp.
(“Cameron”); Anadarko Petroleum Corp., Anadarko E&P Company LP
(collectively the “Anadarko entities”); MOEX Offshore 2007 LLC,
MOEX USA Corp., Mitsui Oil Exploration Company, Ltd, a/k/a MOECO
(collectively the “MOEX entities”); Weatherford International, Inc.,
Weatherford U.S.L.P. (collectively the “Weatherford entities”); Dril-Quip,
Inc. (*Drill-Quip”); the United States of America; and Triton Asset
Leasing GmbH, Transocean Holdings LLC, Transocean Offshore
Deepwater Drilling Inc., and Transocean Deepwater Inc. (collectively the
“Transocean entities’).

3. The limitation, liability and fault allocation trial will begin on February
27, 2012 at 9:00 AM and proceed as appropriate.

4, The limitation, liability and fault allocation trial will include two (2)
separate and distinct liability and fault allocations, which will address the
negligence, gross negligence and/or willful misconduct, liability,

contributory negligence and comparative fault, if any, of the parties, along

' Bundle B-3 claims will be segregated from the claims at issue, and will not be addressed in the
February 2012 trial.
Case 2:10-md-02179-CJB-DPC Document 1951-1 Filed 04/13/11 Page 3 of 6

with the availability of punitive damages regarding Plaintiffs’ claims, if

any, and all applicable defenses set forth in the Defendants’ responsive

pleadings. This will include factual findings regarding the Defendants’

conduct and the causal relationship between such conduct and the claims

at issue; the liability of any third parties or non-parties; and comparative

fault defenses.

a.

First Fault Allocation: The first liability and fault allocation will
be with respect to the Rule 9(h) personal injury/wrongful death
claims arising out of injuries/deaths that occurred on April 20,
2010.

Second Fault Allocation: The second liability and fault allocation
will be with respect to the Rule 9(h) claims for economic losses
that are alleged to have occurred after April 20, 2010."

The Second Fault Allocation wil! include evidence relating to the
First Fault Allocation, but would also take into account any
aggravating effects of negligence, gross negligence and/or willful
misconduct of Defendants before or after April 20 relating to the
post-April 20 efforts to cap the well (i.e. “source control”), which

affected the duration and extent of the spill.

* The First and Second Fault Allocations, depending on the evidence, may or may not be the same.

. ° The Second Fault Allocation will not implicate “clean-up” issues, (¢. g. the use of dispersants, in
situ burning, or use of boom), nor the liability (if any) of “responders” as alleged in the B3 and/or B4

Pleading Bundles..
Case 2:10-md-02179-CJB-DPC Document 1951-1 Filed 04/13/11 Page 4 of 6

5. As part of the same note of evidence, the Court will consider expert
opinion testimony relating to the total volume of oil discharged
commencing on June 1, 2012.4

6. Evidence relating to “specific causation” and damages relating to the Test
Cases identified by Plaintiffs on or before May 2, 2011, is scheduled to be
presented commencing in July of 2012, or as otherwise appropriate.

7. The parties shall engage in pretrial motion practice to attempt to eliminate
or limit certain claims and defenses, and to resolve evidentiary and
Daubert issues, as the Court may allow. Unless otherwise disposed of
during pretrial motion practice, the parties shall proceed to trial with all
counts of the applicable Master Complaint(s) as of the time of trial.

8. The trial will proceed with Plaintiffs presenting their evidence first on all
issues, except for expert opinion testimony relating to the total volume of
oil discharged, which will commence on June 1, 2012. At the conclusion
of Plaintiffs’ case, the Defendants will present their evidence and defenses
based on a logical progression of the proof, in the order set forth below,
except for expert opinion testimony relating to the total volume of oil
discharged, which will commence on June 1, 2012:

a. the BP entities;

b. Halliburton;

* Overlapping with the claims of private plaintiffs, the penalty claims of the United States require
fact-finding regarding the gross negligence and/or willful misconduct of the defendants, as well as the total
number of barrels of oil actually discharged. The Plaintiffs’ expert reports relating to the total volume of oil
discharged will be due to be served on Defendants on or before December 15, 201 1, with any
countervailing expert reports submitted by Defendants due on or before J anuary 15, 2012. The Trial on the

Limitation of Liability Action will be held open until the record is closed on the total volume of oil
discharged.
Case 2:10-md-02179-CJB-DPC Document 1951-1 Filed 04/13/11 Page 5 of 6

10.

11.

c. M-I;

d. the Weatherford entities;

€. Dril-Quip;

f. the Anadarko entities;

g. the MOEX entities;

h. the Transocean entities;

i. Cameron;

The February 2012 trial will not seek to determine, quantify or otherwise
assess the extent of natural resource damages which may be claimed by a
governmental entity or designated trustee. All such determinations with
respect to statutory or other claims for natural resource damages shall be
reserved for future proceedings.

The Trial will not include dispersant issues, or other clean-up issues (e.g.
in situ burning, or use of boom, etc), which would be reserved for the B3
Trial (or other proceedings).

Upon further order of the Court, a Pre-Trial Notice will be issued
instructing the parties, infer alia, to submit a Joint Pre-Trial Order
detailing the conduct of trial and presentation of evidence, including the
amount of trial time allocated to each party for the presentation of
evidence, the use of exhibits and demonstrative aids, the use of deposition

testimony and other evidentiary matters.
Case 2:10-md-02179-CJB-DPC Document 1951-1 Filed 04/13/11 Page 6 of 6

The provisions of this Order may be modified in the interests of justice,
expedience or judicial economy on the Court’s own motion or by the motion of the
parties for good cause shown.

New Orleans, Louisiana this day of , 2011.

Carl J. Barbier
United States District Judge
